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                        UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                    :   NO. 3:16-CR-194
                                            :
             v.                             :   (JUDGE CAPUTO)
                                            :
FUHAI LI,                                   :   (ELECTRONICALLY FILED)
             Defendant                      :


              GOVERNMENT’S RESPONSE TO DEFENDANT’S
          MOTION TO PRECLUDE STEPHEN M. THOMAS, M.D. FROM
               PROVIDING EXPERT TESTIMONY AT TRIAL

      NOW COMES, the United States, by and through Assistant United States

Attorney, Michelle Olshefski, and files the following brief in response to the

defendant’s motion to preclude the testimony of Stephen M. Thomas, M.D. at trial.

I.    INTRODUCTION

      The defendant is charged in a 32-count Superseding Indictment. Counts 1

through 23 charge violations of 21 U.S.C. § 841(a)(1), for the defendant’s distribution

and dispensing of controlled substances outside the usual course of professional

practice and not for a legitimate medical purpose. Count 24 charges a violation of 21

U.S.C. § 841(a)(1), for the defendant’s distribution and dispensing of a controlled

substance resulting in serious bodily injury and death of a person. Count 25 charges

a violation of 21 U.S.C. § 861(f), for the defendant’s distribution and dispensing of a

controlled substance to a pregnant individual. Counts 26 and 27 charge violations of

21 U.S.C. § 856(a)(1), for the defendant’s maintaining locations at 104 Bennett

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Avenue, Suite 1B, Milford, Pennsylvania, and 200 3rd Street, Milford Pennsylvania,

for the purpose of unlawfully distributing controlled substances. Counts 28 and 29

charge violations of 18 U.S.C. § 1957, for the defendant’s engaging in monetary

transactions in property derived from a specified unlawful activity. Counts 30

through 32 charge violations of 26 U.S.C. § 7201, for the defendant’s tax evasion.

The 27-page Superseding Indictment, which includes a detailed recitation of facts

supporting the charges, also includes a forfeiture allegation seeking forfeiture of

various property and U.S. Currency. (See MDPA 3-cr-16-194, Doc. 47). 1

      The defendant now seeks to exclude from trial relevant and proper testimony

from an admittedly qualified pain management expert who will testify regarding the

defendant’s treatment of patients to aid in the jury’s assessment of whether the

defendant’s prescribing was, as charged, outside the usual course of professional

practice and not for a legitimate medical purpose.

      The defendant appears to misunderstand the role of an expert report and

wrongly seeks to limit relevant testimony based upon a very limited view of what

constitutes a reliable opinion, a valid prescription, and a professional course of

practice. The defendant’s bases for his motion are transparently meritless and are




      1  The defendant was first charged in a 24-count Indictment returned by a
federal grand jury on July 20, 2016. (See MDPA 3-cr-16-194, Doc. 1). The tax
evasions charges in the first indictment were identified as counts 22 through 24.

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without legal and factual support. Further, as before in similar motions, the

defendant misstates facts.

      Additionally, the relief sought by this defense motion – a wholesale bar to

testimony with which the defendant apparently disagrees – is inappropriate.

Fundamentally, the defendant simply disagrees with Dr. Thomas’ conclusions about

the highly unprofessional and even dangerous practices that the defendant

undertook and oversaw at his opioid-prescribing practice. This pre-trial effort should

be rebuffed and his motion denied.

II.   BACKGROUND FOR DR. THOMAS’ EXPERT REPORTS

      The Government first retained the services of Stephen M. Thomas, M.D. in or

about December 2014 to examine the circumstances during which the defendant had

issued an exorbitant amount of prescriptions for oxycodone at the highest dosage.

Dr. Thomas reviewed some of the medical records maintained by the defendant

regarding the issuance of those prescriptions. His preliminary conclusions assisted

law enforcement in a probable cause finding for a search warrant affidavit.

      On January 28, 2015, a search warrant was executed at the defendant’s

medical office and seizure of an electronic medical record keeping system occurred.

On the same date, the defendant surrendered his DEA registration to interviewing

DEA Agents. Before that time and towards the end of his practice, evidence revealed

that the defendant had issued the same prescription, oxycodone at a high

concentration, to the largest percentage of his patients.
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      Subsequent to the execution of the search warrant, Dr. Thomas was called

upon again on two occasions. In or about July of 2016, the Government asked Dr.

Thomas to review approximately 50 medical records, including multiple cases

involving deaths, seized from the defendant’s office for the purpose of offering an

opinion as to the medical legitimacy of the prescribing of opioids associated with

those files, and whether such prescribing habits occurred within the course of

professional practice. In or about August of 2017, as the Government worked toward

obtaining a Superseding Indictment, Dr. Thomas was asked to review additional

medical records for the same purpose – to offer an opinion as to the medical

legitimacy of the prescribing of opioids associated with those files, and whether such

prescribing habits occurred within the course of professional practice.

      As a result of the above requests, Dr. Thomas first authored a 29-page expert

report dated July 6, 2016, and a supplemental expert report dated August 31, 2017.

In the reports, Dr. Thomas details the methodology he employed in the assessment;

the laws applicable to physicians licensed by the Commonwealth of Pennsylvania

relied upon in reaching his conclusions; applicable federal regulations relied upon;

and he references his reliance on various studies and research associated with pain

management beginning in the mid-1980s. Additionally, Dr. Thomas offered his

opinions based upon his education and experience as a Board Certified

Anesthesiologist with a subspecialty in Pain Management; a Diplomat of the

American Board of Anesthesiology and Pain Medicine; a Fellow of Interventional
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Pain Practice; Certifications held in Controlled Substance Management, Coding

Compliance and Practice Management, and as an Independent Medical Examiner;

his more than 30 years as a practicing physician; as well as numerous highly

regarded appointments, positions, certifications, lectures, publications, honors and

awards. 2 In addition, Dr. Thomas has previously been qualified to testify as an

expert in pain management in both federal and state courts throughout the country.

      A close review of Dr. Thomas’ reports evidences the thoroughness, specificity,

and rationale for each conclusion reached. There is no question that Dr. Thomas

could have written hundreds of pages about his review of the records, but that is not

the purpose of an expert report. To be clear, the reports are not by themselves

evidence nor does the Government contemplate that the reports will simply be

provided to the jury. The purpose of the reports is to give fair notice to the defendant

about expert opinions, as is required by Rule 16. The reports unquestionably comply

with the Federal Rules and the Government should not be required to preview for the

defendant how it is that the qualified expert will ably defend against the defendant’s

baseless attacks.

      All of the defendant’s attacks on Dr. Thomas’ reports are of the type properly

made during cross-examination of the expert, and not via a wholesale exclusion of




      2  The curriculum vitae of Dr. Stephen Thomas was provided to the
defendant in discovery.

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relevant information from the jury’s purview. Essentially, the defendant is seeking

to preclude Dr. Thomas based upon the claim that Dr. Thomas’ opinion is based upon

only his subjective belief; a “questionable” methodology; a claim that Dr. Thomas did

not rely on state standards in his assessment; and an allegation that Dr. Thomas

does not cite any peer reviewed articles. The defendant’s claims are without merit

and factually wrong.

III.   LEGAL DISCUSSION

       In Daubert v. Merrell Dow Pharmaceuticals, 509 U.S. 579, 590 (1993), the

Supreme Court held that scientific evidence is admissible in federal court if it is

“reliable.” 3 The Court explained the reliability test as requiring “more than

subjective belief or unsupported speculation.” 509 U.S. at 590. It continued: “it would

be unreasonable to conclude that the subject of scientific testimony must be ‘known’

to a certainty; arguably, there are no certainties in science.... But, in order to qualify

as ‘scientific knowledge,’ an inference or assertion must be derived by the scientific




       3   Reliability is not the only prerequisite for the admission of expert
testimony. In addition, in order for an expert opinion to be admitted under Rule 702,
the court must be satisfied by a preponderance of the evidence that the expert is
qualified, and that the opinion is relevant to the matter at issue and will be helpful to
the trier of fact. United States v. Velasquez, 64 F.3d 844, 849 (3d Cir. 1995). In this
case, the qualifications of the Government's expert and the pertinence of his
testimony is not disputed. The defendant, therefore, raises only the reliability of his
analysis.

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method. Proposed testimony must be supported by appropriate validation -- i.e.,

‘good grounds,’ based on what is known.” Id.

       It is clear from the actual written reports that the conclusions reached by Dr.

Thomas are not subjective in nature. Rather, his methodology is based upon an

understanding of what renders a prescription valid under the laws of the

Commonwealth of Pennsylvania and federal regulations, as well as his medical

knowledge of chronic pain, controlled substances, and the interplay between the two.

       The Controlled Substances Act (CSA) makes it unlawful “for any person

knowingly or intentionally– to manufacture, distribute, or dispense, or possess with

intent to manufacture, distribute, or dispense, a controlled substance. 21 U.S.C §

841(a)(1). There is an exception, however, for registered practitioners. See 21 U.S.C.

§ 822(b). Registered medical professionals, including doctors and pharmacists, are

authorized to issue prescriptions for or otherwise dispense controlled substances

provided they do so in compliance with the requirements of their registration. 21

U.S.C. § 822(b). 4




       4   Issuing a prescription constitutes dispensing or distributing within the
meaning of the statute. See 21 U.S.C. § 802 (10), (11). “[D]istribute’ means to deliver
(other than by administering or dispensing) a controlled substance or listed
chemical.” 21 U.S.C. § 802(11). “[D]ispense’ means to deliver a controlled substance
to an ultimate user or research subject by, or pursuant to the lawful order of a
practitioner, including the prescribing and administering of a controlled substance.”
21 U.S.C. § 802(10). A prescription “is the written representation of the drug and
enables its possessor to claim physical custody and control over the drug prescribed.”
United States v. Tighe, 551 F.2d 18, 20 (3d Cir. 1977). “A person can violate 21
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      What the defendant fails to appreciate is the applicable standard to be applied

when a doctor no longer operates with the immunity associated with a valid

prescription. If the prescription is not valid, the defendant stands in the shoes of the

stereotypical drug dealer on the street. In his reports, Dr. Thomas articulates that

standard and specifically writes about where that standard is derived. It is a

standard by which all physicians are guided.

      As Dr. Thomas writes,

      “[T]he federal regulation, 21 C.F.R. § 306.04(a) – Purpose of Issue of
      Prescription, was the primary guide used in the medical record review.
      The regulation calls for the issuance of controlled substance
      prescriptions for a ‘legitimate medical purposes.’ The legitimacy of the
      medical purposes is established by the legitimacy of the rationale
      supporting the prescription with deference to the risks and benefits of
      the controlled substances prescribed. The Pennsylvania Controlled
      Substances, Drugs, Device and Cosmetics Act provided additional
      guidance as to the legitimate medical purpose of a prescription for
      controlled substances in that the substance must be provided in the
      usual course of the physician’s professional practice, within the scope of
      a doctor-patient relationship, and in accordance with the accepted
      treatment principles of any responsible segment of the medical
      community. Under Pennsylvania statute and regulations, prescriptions
      provided outside of the usual course of professional practice, outside of
      the scope of the doctor-patient relationship, and/or not in accordance
      with the accepted treatment principles of any responsible segment of the
      medical community would be deemed illegitimate. Additionally,
      Pennsylvania Code, Tile 41 § 16.92 provides the documentation
      requirements for controlled substances for physicians in the
      Commonwealth.”



U.S.C. § 841(a)(1) without actually distributing the controlled substances, but only by
writing a prescription for their distribution.” United States v. Flowers, 818 F.2d 464,
467 (6th Cir. 1987).

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(Dr. Thomas report, 7/6/16, p. 3.) 5

      These are the legal foundations that are particularly relevant to the

distribution and dispensing of controlled substances that were relied upon by Dr.

Thomas in his review and assessment of the medical records and from which he drew

his conclusions. Dr. Thomas’ reports evidence a scientifically objective opinion based

upon the practice of medicine, and specifically the practice of writing prescriptions

for powerful opioid medications. When a practitioner issues prescriptions that are

not valid, either to feed a patient’s addiction or to cultivate a returning clientele, that

is not the practice of medicine - that is drug dealing of the illegal kind. That is the

essence of the defendant’s criminal behavior in this case.

      Daubert expanded, not restricted, the admissibility of expert opinion under

Rule 702 by keeping with the Supreme Court’s view of the “liberal thrust” of the

Federal Rules and their general approach of relaxing the traditional barriers to




      5    It is further clear that Dr. Thomas articulated the methodology he used:
“The methodology used in reviewing the medical records was as follows: 1) each
medical record submitted was read in its entirety; 2) the medical record was assessed
for its completeness in outlining the indication for the prescription of the controlled
substance, including diagnosis as ascertained through history, physical examination
and diagnostic testing; 3) for chronic pain prescriptions the regularity of the
prescribing patter was observed; 4) gross omissions from the medical record were
discerned; 5) the indication or lack of indication for changes in dose were ascertained
when possible; 6) efforts to monitor the medication-taking behavior of the patients
were considered. (Dr. Thomas report, 7/6/16, p. 3.)

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“opinion” testimony. Id. at 588, quoting Beech Aircraft Corp. Rainey, 488 U.S. 153,

169 (1988). Courts, and notably the Third Circuit, have been faithful to the

Supreme Court's mandate to apply a liberal standard of admissibility under Rule

702. The Supreme Court's cases simply drew the line at what is colloquially referred

to as “junk science,” the attestations of purported experts without any reliable basis

in fact or study. Iacobelli Construction, Inc. v. County of Monroe, 32 F.3d 19, 25 (2d

Cir. 1994). See Daubert (questioning the reliability of testimony by a witness who

simply “re-analyzed” 30 studies of over 130,000 patients, all of which found no link

between use of Bendectin and the complained-of injuries, and reached a different

conclusion); General Electric Co. v. Joiner, 522 U.S. 136, 145-46 (1997) (medical

causation expert relied only on four epidemiological studies, which were either

inconclusive or irrelevant to the pertinent issue); Kumho Tire Co., Ltd. v.

Carmichael, 526 U.S. 137, 154 (1999) (tire expert purported to state opinion

regarding cause of tire failure, based solely on a visual examination of questionable

value, and without consideration of substantial evidence contrary to his view).

      Apart from such extreme circumstances, the Third Circuit has often held that

the reliability “standard is not that high.” In re Paoli R.R. Yard PCB Litigation, 35

F.3d 717, 745 (3d Cir. 1994) (commonly referred to as “Paoli II”). Paoli II, which

presented a lengthy discussion of the Daubert standard in this Circuit, explained

that the requirement of a showing of “reliability,”



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       does not mean that plaintiffs have to prove their case twice -- they do
       not have to demonstrate to the judge by a preponderance of the evidence
       that the assessments of their experts are correct, they only have to
       demonstrate by a preponderance of evidence that their opinions are
       reliable.... Daubert states that a judge should find an expert opinion
       reliable under Rule 702 if it is based on “good grounds,” i.e., if it is based
       on the methods and procedures of science. A judge will often think that
       an expert has good grounds to hold the opinion that he or she does even
       though the judge thinks that the opinion is incorrect.... The grounds for
       the expert's opinion merely have to be good, they do not have to be
       perfect. The judge might think that there are good grounds for an
       expert's conclusion even if the judge thinks that there are better
       grounds for some alternative conclusion, and even if the judge thinks
       that a scientist's methodology has some flaws such that if they had been
       corrected, the scientist would have reached a different result.

Id. at 744 (italics in original).

       The Rules Advisory Committee, in amending Rule 702 in 2000, expressly

adopted the Paoli II explanation. In addition, furthering the rule's liberal policy of

accepting expert testimony, the Committee explained that even expert testimony “not

rely[ing] on anything like a scientific method” may be admissible, if “it is properly

grounded, well-reasoned, and not speculative.” 6

       Paoli II was a toxic tort case brought by neighbors of a railyard where PCB's

were used for a quarter century, who alleged that they suffered from a variety of

physical ailments as a result. The Third Circuit held that the district court abused




       6  The Third Circuit has relied on the 2000 Advisory Committee's note as “a
useful consolidation of commentary and precedent” on the Daubert question. United
States v. Mitchell, 365 F.3d 215, 234 n.14 (3d Cir. 2004).

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its discretion in excluding all expert testimony offered on the basis of “differential

diagnosis,” where a physician undertakes to diagnose the cause of an illness by

examining a patient, performing laboratory tests, and then considering any

alternative explanations for the illness. The Court further held that the district

court abused its discretion in excluding studies on animals of the effect of PCB's,

given that “animal studies are routinely relied upon by the scientific community in

assessing the carcinogenic effects of chemicals on humans.” 35 F.3d at 780.

       Notably, the Court found these areas of expertise sufficiently reliable, even

while acknowledging that the accuracy of the witnesses' methods could not be known.

With respect to differential diagnosis, the Court observed that a diagnosis regarding

a particular individual cannot be empirically tested, but “[t]his merely makes it a

different type of science than science designed to produce general theories; it does not

make it unreliable science.” Id. at 758. The Court held that a physician's opinion

based on a faithful application of the method is admissible, because differential

diagnosis “is a technique that has widespread acceptance in the medical community,

has been subject to peer review, and does not frequently lead to incorrect results....”

Id. See also Heller v. Shaw Industries, Inc., 167 F.3d 146, 158 (3d Cir. 1999)

(permitting introduction of “differential diagnosis” regarding the link between

symptoms and exposure to a product without the need to prove “a statistically

significant correlation.”).



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      Following Paoli II, the Third Circuit repeatedly emphasized the limited nature

of the reliability measure. See, e.g., United States v. Mitchell, 365 F.3d 215, 244 (3d

Cir. 2004); 7 In re TMI Litigation, 193 F.3d 613, 692 (3d Cir. 1999); Holbrook v. Lykes

Bros. S.S. Co., Inc., 80 F.3d 777, 784 (3d Cir. 1996) (“The reliability requirement,

however, should not be applied too strictly.... If the expert has ‘good grounds' for the

testimony, the scientific evidence is deemed sufficiently reliable.”); Oddi v. Ford

Motor Co., 234 F.3d 136, 145-46 (3d Cir. 2000). 8

      The defendant’s reliance on Pritchard v. Dow Agro Sciences, 430 Fed. Appx.

102 (3d Cir 2011) misses the mark. To compare the two case is akin to comparing

apples and oranges. The issue in Pritchard was the proposed expert’s stated reliance

upon an unreliable study and nothing more. Essentially, the district court did not

like how the proposed expert recalculated the study’s conclusions in order to reach a




      7    The defendant’s failure to acknowledge or cite the Mitchell decision is
telling. Mitchell is a recent and offers a thorough exploration of the Daubert issue in
this Circuit, in which the Court rejected the effort of the defendant to establish the
FBI's fingerprint identification method as unreliable.

      8    See also United States v. Mathis, 264 F.3d 321, 340 (3d Cir. 2001)
(“experts who apply reliable scientific expertise to juridically pertinent aspects of the
human mind and body should generally, absent explicable reasons to the contrary, be
welcomed by federal courts, not turned away.”); 2000 Advisory Committee notes to
Rule 702 (“A review of the caselaw after Daubert shows that the rejection of expert
testimony is the exception rather than the rule. Daubert did not work a ‘seachange
over federal evidence law,’ and ‘the trial court's role as gatekeeper is not intended to
serve as a replacement for the adversary system.’ United States v. 14.38 Acres of
Land Situated in Leflore County. Mississippi, 80 F.3d 1074, 1078 (5th Cir. 1996).”).

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conclusion that benefited the Plaintiffs’ interest. The proposed expert admittedly

relied upon nothing else but the recalculation of conclusions from one study. The

district court correctly ruled that the twisted conclusions of just one study relied

upon by the proposed expert rendered his opinion less scientifically reliable. The

Plaintiffs were left with nothing else to prove causation. There are no similarities,

factual or legal, between the facts of Pritchard and the facts of this case.

      Finally, it must be added that the district court's discretion in determining

whether to permit expert testimony extends to the court's decision regarding whether

and to what extent to even evaluate the evidence at a separate hearing, and to the

detail with which to express its decision. The Third Circuit has repeatedly held that

such matters lie within the district court's discretion, and that a court need not hold

a hearing in every case nor provide any particular detail in its ruling.

      For example, the Mitchell Court held that, given the clear admissibility of

fingerprint analysis under the Daubert test, and the district court's considerable

latitude in addressing a Daubert issue, a district court does not abuse its discretion

by limiting a Daubert hearing to “novel challenges to the admissibility of latent

fingerprint identification evidence -- or even dispensing with the hearing altogether if

no novel challenge was raised.” Id. at 246. See also United States v. Mornan, 413

F.3d 372, 380-81 (3d Cir. 2005) (“There is no requirement that the District Court

always hold a Daubert hearing prior to qualifying an expert witness ....”), quoting

United States v. Evans, 272 F.3d 1069, 1094 (8th Cir. 2001).
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IV.   CONCLUSION

      For all the reasons stated herein, the Government respectfully requests that

the Court DENY the defendant’s motion in limine and request for a Daubert hearing.

                                      Respectfully submitted,

                                      DAVID J. FREED
                                      United States Attorney


                               By:    /s/ Michelle L. Olshefski
                                      MICHELLE L. OLSHEFSKI
                                      Assistant U.S. Attorney

Dated: March 13, 2018




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                       UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                 :    NO. 3:16-CR-194
                                         :
            v.                           :    (JUDGE CAPUTO)
                                         :
FUHAI LI,                                :    (ELECTRONICALLY FILED)
            Defendant                    :



                           CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on the 13th day of March, 2018, I caused

the foregoing “Government’s Response to Defendant’s Motion to Preclude Dr.

Stephen Thomas from providing Expert Testimony at Trial” to be served upon

Michael Weinstein, Esquire, counsel of record for the defendant, and that Attorney

Weinstein is a filing user under the ECF system.



                                      /s/ Michelle L. Olshefski
                                      Michelle L. Olshefski
                                      Assistant U.S. Attorney




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